USCA11 Case: 24-10935    Document: 19-1     Date Filed: 08/26/2024   Page: 1 of 2




                                                  [DO NOT PUBLISH]
                                   In the
                United States Court of Appeals
                        For the Eleventh Circuit

                          ____________________

                                No. 24-10935
                          Non-Argument Calendar
                          ____________________

       UNITED STATES OF AMERICA,
                                                      Plaintiﬀ-Appellee,
       versus
       EDWARD DURAN MCGEE,


                                                  Defendant-Appellant.


                          ____________________

                 Appeal from the United States District Court
                    for the Southern District of Alabama
                   D.C. Docket No. 1:22-cr-00220-WS-N-1
                          ____________________
USCA11 Case: 24-10935      Document: 19-1      Date Filed: 08/26/2024     Page: 2 of 2




       2                      Opinion of the Court                  24-10935


       Before NEWSOM, LUCK, and ANDERSON, Circuit Judges.
       PER CURIAM:
               The Government’s motion to dismiss this appeal pursuant
       to the appeal waiver in Appellant’s plea agreement is GRANTED.
       See United States v. Bushert, 997 F.2d 1343, 1350–51 (11th Cir. 1993)
       (sentence appeal waiver will be enforced if it was made knowingly
       and voluntarily); United States v. Boyd, 975 F.3d 1185, 1192 (11th Cir.
       2020) (sentence appeal waiver will be enforced where “it was
       clearly conveyed to the defendant that he was giving up his right
       to appeal under most circumstances” (quotation marks omitted, al-
       terations adopted, emphasis in original)); United States v. Grinard-
       Henry, 399 F.3d 1294, 1296 (11th Cir. 2005) (waiver of the right to
       appeal includes waiver of the right to appeal difficult or debatable
       legal issues or even blatant error); United States v. Bascomb, 451 F.3d
       1292, 1296-97 (11th Cir. 2006) (an appeal waiver may include a
       waiver of constitutional claims).
